Case 1:22-cr-20169-JEM Document 55 Entered on FLSD Docket 07/19/2022 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 1:22-cr-20169-JEM/Becerra

  UNITED STATES OF AMERICA,

  v.

  ASISCLO VALLADARES URRUELA,
        Defendant.
  _____________________________________/

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE came before the Court following the District Court’s referral for a change

  of plea. ECF No. [49]. Based upon the Change of Plea hearing conducted on July 19, 2022, the

  undersigned makes the following findings, and recommends that the guilty plea be accepted.

         1.      As an initial matter, the Court advised Asisclo Valladares Urruela (“Defendant”) of

  the right to have these proceedings conducted by the District Judge assigned to the case, and that

  this Court was conducting the change of plea hearing pursuant to an Order of Reference from the

  District Court. This Court further advised Defendant that the District Judge assigned to this case

  would be the sentencing judge and would make all findings and rulings concerning Defendant’s

  sentence. This Court advised Defendant that he did not have to permit the undersigned United

  States Magistrate Judge to conduct this hearing and could request that the change of plea hearing

  be conducted by the District Judge assigned to the case. Defendant, Defendant’s attorney, and the

  Assistant United States Attorney all consented on the record to this Court conducting the change

  of plea hearing.

         2.      This Court conducted a plea colloquy in accordance with the outline set forth in the

  Bench Book for District Judges, and in accordance with Fed. R. Crim. P. 11.

         3.      Defendant pled guilty to Count 1(b) of the Information. Count 1(b) charges

  Defendant with Conspiracy to Engage in Unlawful Monetary Transactions, in violation of Title 18,

                                                  1
Case 1:22-cr-20169-JEM Document 55 Entered on FLSD Docket 07/19/2022 Page 2 of 3



  United States Code, Sections 1956(h) and 1957. The Court advised Defendant that as to Count 1(b),

  there is a maximum of 10 years imprisonment, followed by a period of supervised release of up to

  5 years, and a possible fine of up to $500,000.00 or twice the amount of criminally derived property

  involved in the transactions, whichever is greater. The Court also advised Defendant that there is

  a mandatory special assessment of $100.00, including the possibility of forfeiture.

         4.      To set forth the factual basis for the entry of the plea, Defendant and the

  Government submitted a written Factual Proffer.           The Factual Proffer, also read by the

  Government at the hearing, established all the essential elements of the crime to which Defendant

  is pleading guilty. Defendant acknowledged that the Factual Proffer was accurate.

         5.      There is a written plea agreement which has been entered into by the parties in this

  case. This Court reviewed that plea agreement on the record and Defendant acknowledged that he

  understood the terms of the plea agreement and that he had signed the plea agreement.

         6.      Defendant also waived his right to appeal his sentence unless the government files

  an appeal and/or his sentence exceeds the maximum permitted by statute and/or is the result of an

  upward departure or a variance from the guideline range that the Court establishes at sentencing.

  Defendant also waived his right to challenge the constitutionality of the statutes at issue or whether

  the conduct falls within the statutes. In addition, the undersigned finds that Defendant’s waiver of

  his right to appeal his sentence in this case is knowing and voluntary.

         7.      Based upon all of the foregoing and the plea colloquy conducted by this Court, the

  undersigned finds that Defendant is fully competent and capable of entering an informed plea, that

  Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

  of guilty is a knowing and voluntary plea supported by an independent basis in fact containing

  each of the essential elements of the offense.

         8.      Therefore, the undersigned recommends that Defendant be found to have freely and


                                                    2
Case 1:22-cr-20169-JEM Document 55 Entered on FLSD Docket 07/19/2022 Page 3 of 3



  voluntarily entered a guilty plea to Count 1(b) of the Information filed in this case, as more

  particularly described herein, and that Defendant be adjudicated guilty of that offense.

         9.      A pre-sentence investigation report is being prepared for the District Court by the

  United States Probation Office. The sentencing hearing will be set by the District Court.

         Accordingly, it is hereby RECOMMENDED that Defendant’s plea of guilty be accepted,

  that Defendant be adjudicated guilty of the offense to which he has entered his plea of guilty, and

  that a sentencing hearing be conducted for final disposition of this matter.

         The parties will have fourteen calendar days from the date of service of this Report and

  Recommendation within which to file written objections, if any, for consideration by the United

  States District Judge. Any request for an extension of this deadline must be made within seven

  calendar days from the date of this Report and Recommendation. Pursuant to Fed. R. Crim. P.

  59(b), Eleventh Circuit Rule 3-1, and accompanying Internal Operating Procedure 3, the parties

  are hereby notified that failure to object in accordance with 28 U.S.C. § 636(b)(1) waives the right

  to challenge on appeal the District Court’s order based on unobjected-to factual and legal

  conclusions. See Thomas v. Arn, 474 U.S. 140 (1985).

         DONE AND SUBMITTED in Chambers at Miami, Florida, on July 19, 2022.



                                                        _________________________
                                                        JACQUELINE BECERRA
                                                        United States Magistrate Judge




                                                   3
